Case 1:18-cv-00317-JB-N Document 317 Filed 04/14/21 Page 1 of 3                                     PageID #: 4066




                                   IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                                           SOUTHERN DIVISION

 WILLIAM HEATH HORNADY, et al.,                            )
                                                           )
                             Plaintiffs,                   )
                                                           )
 v.                                                        )
                                                             CIVIL ACTION NO. 1:18-00317-JB-N
                                                           )
 OUTOKUMPU STAINLESS USA,                                  )
                                                           )
                             Defendant.                    )

                                                        ORDER

            This matter is before the Court on ADP, Inc.’s Motion for Attorneys’ Fees and Costs. (Doc.

 312).1 ADP seeks an award “against Defendant and/or its counsel . . . related to ADP’s expenses

 incurred in this matter due to Defense Counsel’s [Gavin Appleby] misrepresentations to the

 Court.” (Id.).

            In its Motion, ADP accurately sets out underlying misconduct justifying an award, as well

 as an accounting of the time and expenses it incurred in responding. ADP’s Motion provides a

 detailed Lodestar calculation of attorneys’ fees in the amount of $60,754.50 and costs in the

 amount of $2,913.52. ADP seeks a total award of $63,668.02 for fees and costs incurred prior to

 the Motion. (Id., PageID#3994).

            Neither Defendant nor its counsel has filed an opposition to the Motion. Rather,

 Defendant filed a Response, stating:

            On March 30, 2021, the General Counsel of Littler Mendelson, P.C. spoke with
            Matthew Jackson, counsel for ADP, Inc. advising him Littler would pay the fees
            ADP sought by way of this motion, along with any additional fees ADP would incur
            in the future to respond to the subpoena at issue.

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     The Court directed ADP, Inc. to file such motion during a March 12, 2021 show-cause hearing.


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Case 1:18-cv-00317-JB-N Document 317 Filed 04/14/21 Page 2 of 3                     PageID #: 4067




 (Doc. 315, PageID#4046). Defendant represents that a check in the amount requested was sent

 to ADP’s counsel. (Id.). In terms of future costs and expenses, Defendant further represented:

        Littler also sought from Mr. Jackson an accounting of any additional fees ADP had
        incurred since the motion was filed. . . . To Littler’s understanding, Mr. Jackson is
        preparing that accounting. Once it is received, Littler will prepare a second check
        payable to ADP for these additional fees. If there are other fees ADP incurs, Littler
        will pay them promptly.

 (Id., PageID#4047).

        At a hearing conducted April 13, 2021, Mr. Jackson confirmed receipt from Littler

 Mendelson, P.C. of the amount ADP sought for fees and expenses incurred prior to its Motion.

 Mr. Jackson further stated ADP was unwilling to withdraw its Motion, notwithstanding

 Defendant’s payment of the amount sought in the Motion and its undertaking to pay future

 amounts. Counsel for Defendant stated that he had no objection to the entry of an Order

 granting the Motion and noting the payment made.

        Based on the foregoing, upon due consideration, the Court finds and orders as follows:

        1. ADP, Inc.’s Motion for Attorneys’ Fees and Costs (Doc. 312) is GRANTED.

        2. Defendant’s counsel has fully paid and satisfied the total amount owed to ADP, Inc.

            pursuant to its Motion and this Order for fees and costs incurred prior to the Motion.

        3. ADP shall prepare and provide to Defendant and Littler Mendelson, P.C. an accounting

            of all additional fees and costs ADP incurred since the filing of the Motion. Upon

            receipt of the said accounting, Defendant or Littler Mendelson, P.C. shall prepare and

            send another check, in the same manner as the first check, payable to ADP for these

            additional fees. Any related additional fees and costs incurred by ADP after the said




                                                 2
Case 1:18-cv-00317-JB-N Document 317 Filed 04/14/21 Page 3 of 3              PageID #: 4068




         accounting shall likewise be borne by Defendant and/or Littler Mendelson, P.C.

      DONE and ORDERED this 14th day of April, 2021.

                                         /s/ JEFFREY U. BEAVERSTOCK
                                         UNITED STATES DISTRICT JUDGE




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